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6                                  UNITED STATES DISTRICT COURT
7                                         DISTRICT OF NEVADA
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9     JESS ELIJIO CARRANZA,                                   Case No. 2:20-cv-01586-GMN-DJA
      JIMMY CARTER KIM,
10                                                                          ORDER
                                Plaintiffs/Petitioners,
11             v.
12    WARDEN BRIAN KOEHN,
13                           Defendant/Respondent.
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              This action is a petition for a writ of habeas corpus, under 28 U.S.C. § 2241, and
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     complaint for declaratory and injunctive relief by petitioners-plaintiffs Jess Elijio
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     Carranza and Jimmy Carter Kim who are federal pretrial detainees at the Nevada
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     Southern Detention Center (NSDC) in Pahrump, Nevada (ECF No. 1). They allege that
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     they have either tested positive for COVID-19 or are exhibiting symptoms of that virus.
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     They allege respondent has failed to take adequate measures to prevent the spread of
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     COVID-19 at NSDC. They further allege that they have received inadequate medical
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     treatment and that their health and their lives are at risk. Id.
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              Having reviewed the petition-complaint, the court directs that it be served on
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     respondent-defendant.
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              IT IS THEREFORE ORDERED that the Clerk SHALL ISSUE the proposed
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     summons (ECF No. 4) and serve respondent-defendant as follows:
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27      (1)         By delivering a copy of the summons, the petition (ECF No. 1), the exhibits
                    (ECF No. 3), and this order on the United States Attorney for the District of
28                  Nevada pursuant to Rule 4(i)(1)(A)(i) of the Federal Rules of Civil Procedure.
                                                          1
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1        (2)     By sending a copy of the summons, the petition, the exhibits, and this order
                 by registered or certified mail to Brian Koehn, Warden, Nevada Southern
2                Detention Center, 2190 Mesquite Ave., Pahrump, NV 89060 pursuant to Rule
3                4(i)(2) of the Federal Rules of Civil Procedure.
         IT IS FURTHER ORDERED that counsel for respondent-defendant file a notice of
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     appearance within 7 days of the date of this order.
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         IT IS FURTHER ORDERED that respondent-defendant file an answer to the petition
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     within 14 days of the date of this order. The petitioners-plaintiffs will then have 3 days to
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     file a reply.
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               DATED: 3 September 2020.
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                                                       GLORIA M. NAVARRO
13                                                     UNITED STATES DISTRICT JUDGE

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